     Case 4:08-cr-00315-RSB-CLR Document 731 Filed 09/11/09 Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT FOR
                   MUV QrTVrwI'M nTQ'rPTr"r A' MVAWnTX

                           SAVANNAH DIVISION                   2009SEP II AM (0:08


UNITED STATES OF AMERICA           )
                                                                          H UP GA,
                                   )
V.                                 )           Case No. CR408-315

EMMANUEL JONES, et al.,            )
                                   )
                  Defendants.


                                 ORDER

      Kenneth J. Wilson, counsel of record for Emmanuel Jones, in
the above-styled case, has filed a motion for protection (Doc.
730). The Court is mindful that personal and professional
obligations require the absence of counsel on occasion. The Court,
however, cannot accommodate its schedule to the thousands of
attorneys who practice within the Southern District of Georgia.
      Counsel may be absent at the times requested. However,
nothing shall prevent the case from going forward; all discovery
shall proceed, status conferences, pretrial conferences, and trial
shall not be interrupted or delayed.              It is the affirmative

obligation of counsel to provide a fitting substitute.

      SO ORDERED, this     #''     day of September, 2009.




                                   WILLIAM T. MOORE, JR., CHIEF JUDGE
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
